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     EXHIBIT A
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Registration Date        Issue Registered (Month/Year)    Registration Number
01/11/1996               September 1995                   TX0004181162
01/11/1996               October 1995                     TX0004181146
02/27/1996               November 1995                    TX0004184972
02/27/1996               December 1995                    TX0004184973
04/23/1996               January 1996                     TX0004211544
04/23/1996               February 1996                    TX0004211543
07/02/1996               March 1996                       TX0004356482
07/02/1996               April 1996                       TX0004307866
09/18/1996               May 1996                         TX0004336927
09/18/1996               June 1996                        TX0004336926
11/04/1996               July 1996                        TX0004356479
11/04/1996               August 1996                      TX0004363177
01/13/1997               September 1996                   TX0004434625
01/23/1997               October 1996                     TX0004434628
03/10/1997               November 1996                    TX0004420539
03/10/1997               December 1996                    TX0004420538
04/16/1997               January 1997                     TX0004439645
04/16/1997               February 1997                    TX0004439651
06/19/1997               March 1997                       TX0004490696
06/19/1997               April 1997                       TX0004490694
09/10/1997               May 1997                         TX0004544992
09/19/1997               July 1997                        TX0004612229
09/19/1997               June 1997                        TX0004544995
01/13/1998               August 1997                      TX0004602997
02/05/1998               October 1997                     TX0004903236
02/05/1998               November 1997                    TX0004612362
04/01/1998               December 1997                    TX0004661106
04/01/1998               January 1998                     TX0004661105
06/25/1998               February 1998                    TX0004740493
06/25/1998               March 1998                       TX0004651211
06/25/1998               April 1998                       TX0004651213
10/06/1998               May 1998                         TX0004778979
10/06/1998               June 1998                        TX0004770526
10/06/1998               July 1998                        TX0004770527
12/22/1998               September 1998                   TX0004858606
12/22/1998               August 1998                      TX0004646816
02/11/1999               December 1998                    TX0005392419
02/11/1999               October 1998                     TX0004874119
02/11/1999               November 1998                    TX0004874120
03/10/1999               January 1999                     TX0004861644
06/07/1999               February 1999                    TX0004919704
06/07/1999               March 1999                       TX0004919712
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08/23/1999               May 1999                         TX0004054833
08/23/1999               June 1999                        TX0004054842
09/28/1999               July 1999                        TX0004054837
10/25/1999               July 1999                        TX0004987124
10/25/1999               August 1999                      TX0004987176
02/02/2000               October 1999                     TX0005355288
02/02/2000               September 1999                   TX0005041561
03/02/2000               December 1999                    TX0005355289
03/02/2000               November 1999                    TX0005062115
06/05/2000               March 2000                       TX0005205479
06/05/2000               January 2000                     TX0005132815
06/05/2000               February 2000                    TX0005132814
08/24/2000               April 2000                       TX0005340324
01/22/2001               October 2000                     TX0005235707
01/22/2001               November 2000                    TX0005235706
02/09/2001               September 2000                   TX0005392420
02/09/2001               August 2000                      TX0005274278
04/23/2001               December 2000                    TX0005298887
04/23/2001               January 2001                     TX0005298886
07/13/2001               May 2000                         TX0005340325
07/13/2001               June 2000                        TX0005340326
07/23/2001               February 2001                    TX0005345262
07/23/2001               March 2001                       TX0005345256
07/23/2001               March 2001                       TX0005354862
08/20/2001               May 2001                         TX0005369669
10/09/2001               July 2001                        TX0005433229
10/09/2001               June 2001                        TX0005532425
01/07/2002               September 2001                   TX0005569849
02/11/2002               October 2001                     TX0005569860
03/12/2002               November 2001                    TX0005565366
04/08/2002               December 2001                    TX0005562067
04/15/2002               January 2002                     TX0005502726
05/23/2002               August 2001                      TX0005651817
05/31/2002               March 2002                       TX0005532052
07/03/2002               April 2002                       TX0005599836
08/16/2002               May 2002                         TX0005613116
09/10/2002               June 2002                        TX0005809677
10/11/2002               July 2002                        TX0005600427
10/11/2002               August 2002                      TX0005600372
11/20/2002               September 2002                   TX0005639685
01/07/2003               October 2002                     TX0005654144
02/20/2003               December 2002                    TX0005809658
03/03/2003               February 2002                    TX0005807918
04/07/2003               January 2003                     TX0005874446
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04/22/2003               February 2003                    TX0005808011
06/20/2003               April 2003                       TX0005673138
06/23/2003               March 2003                       TX0005673137
08/11/2003               May 2003                         TX0005800527
09/10/2003               June 2003                        TX0005806815
10/29/2003               July 2003                        TX0005873983
11/10/2003               August 2003                      TX0005873976
11/10/2003               September 2003                   TX0005873981
01/09/2004               October 2003                     TX0005873995
02/18/2004               November 2003                    TX0005892621
02/18/2004               December 2003                    TX0005892029
04/23/2004               January 2004                     TX0005989264
06/21/2004               March 2004                       TX0005985737
07/13/2004               April 2004                       TX0005989263
07/30/2004               May 2004                         TX0005996395
09/27/2004               June 2004                        TX0006033163
10/12/2004               July 2004                        TX0006069578
11/03/2004               August 2004                      TX0006078193
12/06/2004               September 2004                   TX0006078197
01/14/2005               October 2004                     TX0006093680
03/04/2005               November 2004                    TX0006163397
05/02/2005               January 2005                     TX0006166840
05/09/2005               February 2005                    TX0006166826
06/01/2005               March 2005                       TX0006172142
08/10/2005               April 2005                       TX0006206925
08/10/2005               May 2005                         TX0006206938
09/13/2005               June 2005                        TX0006222655
10/11/2005               July 2005                        TX0006226328
11/08/2005               August 2005                      TX0006332311
12/15/2005               September 2005                   TX0006265651
12/19/2005               October 2005                     TX0006265650
01/18/2006               November 2005                    TX0006340725
03/20/2006               December 2005                    TX0006313834
04/19/2006               January 2006                     TX0006313848
05/08/2006               February 2006                    TX0006379117
06/12/2006               March 2006                       TX0006359046
07/24/2006               April 2006                       TX0006422037
08/04/2006               May 2006                         TX0006411133
08/06/2006               August 2006                      TX0006461698
09/22/2006               June 2006                        TX0006483222
10/10/2006               July 2006                        TX0006436480
12/06/2006               September 2006                   TX0006481156
01/10/2007               October 2006                     TX0006511623
01/16/2007               November 2006                    TX0006498507
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03/05/2007               December 2006                    TX0006550579
03/21/2007               January 2007                     TX0006611867
05/03/2007               February 2007                    TX0006614601
06/21/2007               March 2007                       TX0006608052
07/10/2007               April 2007                       TX0006608028
08/17/2007               May 2007                         TX0006614530
09/13/2007               June 2007                        TX0006630210
10/04/2007               July 2007                        TX0006630464
10/29/2007               August 2007                      TX0006630330
03/28/2008               September 2007                   TX0006685294
11/28/2007               September 2007                   TX0006644579
01/24/2008               October 2007                     TX0006647439
01/29/2008               November 2007                    TX0006647513
03/19/2008               December 2007                    TX0006647470
04/08/2008               January 2008                     TX0006662942
05/05/2008               February 2008                    TX0006647382
09/18/2008               March 2008                       TX0006661227
09/18/2008               April 2008                       TX0006662390
07/31/2008               May 2008                         TX0006662512
08/14/2008               June 2008                        TX0006662612
09/26/2008               July 2008                        TX0006660576
11/21/2008               August 2008                      TX0006660489
12/11/2008               September 2008                   TX0006665017
02/18/2009               October 2008                     TX0006631870
06/01/2009               October 2008                     TX0006679578
02/18/2009               November 2008                    TX0006631868
02/25/2009               December 2008                    TX0006664945
05/01/2009               January 2009                     TX0006680128
05/01/2009               February 2009                    TX0006631565
06/24/2009               March 2009                       TX0006679377
07/07/2009               April 2009                       TX0006683910
07/09/2009               May 2009                         TX0006683856
08/19/2009               June 2009                        TX0006687583
10/14/2009               July 2009                        TX0006685634
10/14/2009               August 2009                      TX0006700127
11/20/2009               September 2009                   TX0006700088
01/14/2010               October 2009                     TX0006701634
01/14/2010               November 2009                    TX0006702359
03/29/2010               December 2009                    TX0006702409
03/25/2010               January 2010                     TX0006704073
06/03/2010               February 2010                    TX0006704112
06/03/2010               March 2010                       TX0006704111
10/04/2010               April 2010                       TX0006772753
10/07/2010               May 2010                         TX0006772759
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02/10/2011               June 2010                        TX0006772176
02/10/2011               July 2010                        TX0006772172
02/10/2011               August 2010                      TX0006772150
02/10/2011               September 2010                   TX0006772151
04/29/2011               October 2010                     TX0006776360
04/29/2011               November 2010                    TX0006776361
06/03/2011               December 2010                    TX0006776133
07/21/2011               January 2011                     TX0006778793
07/21/2011               February 2011                    TX0006779028
08/22/2011               March 2011                       TX0006779078
08/22/2011               April 2011                       TX0006779021
09/16/2011               May 2011                         TX0006788057
09/29/2011               June 2011                        TX0006573269
12/19/2011               July 2011                        TX0006787848
03/22/2012               September 2011                   TX0006789348
03/22/2012               October 2011                     TX0006789350
03/30/2012               December 2011                    TX0006604549
09/12/2012               March 2012                       TX0006540595
09/12/2012               April 2012                       TX0006540589
09/04/2013               September 2012                   TX0007889332
09/04/2013               May 2012                         TX0007900636
09/04/2013               March 2013                       TX0007888497
09/04/2013               April 2013                       TX0007888484
09/04/2013               February 2013                    TX0007888461
09/04/2013               November 2012                    TX0007889392
09/04/2013               July 2012                        TX0007889303
09/04/2013               January 2013                     TX0007889398
09/04/2013               October 2012                     TX0007889363
09/04/2013               June 2012                        TX0007889262
09/04/2013               August 2012                      TX0007889287
09/04/2013               December 2012                    TX0007900610
02/20/2014               July 2013                        TX0007881783
02/20/2014               June 2013                        TX0007881845
02/20/2014               October 2013                     TX0007901938
02/20/2014               May 2013                         TX0007881842
02/20/2014               September 2013                   TX0007901983
02/20/2014               August 2013                      TX0007901993
06/27/2014               November 2013                    TX0007966225
06/27/2014               January 2014                     TX0007966282
06/27/2014               December 2013                    TX0007966172
11/13/2014               February 2014                    TX0008072322
11/13/2014               March 2014                       TX0008072328
11/13/2014               April 2014                       TX0008072311
01/12/2015               May 2014                         TX0008153354
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01/12/2015               June 2014                        TX0008153351
01/12/2015               July 2014                        TX0008153376
05/20/2015               August 2014                      TX0008153168
05/20/2015               September 2014                   TX0008153172
05/20/2015               October 2014                     TX0008180445
08/14/2015               November 2014                    TX0008227386
08/14/2015               December 2014                    TX0008227408
08/14/2015               January 2015                     TX0008227404
10/26/2015               February 2015                    TX0008231472
10/26/2015               April 2015                       TX0008231486
10/26/2015               March 2015                       TX0008231481
01/19/2016               June 2015                        TX0008381791
01/19/2016               May 2015                         TX0008203171
01/19/2016               July 2015                        TX0008216172
10/24/2016               June 2016                        TX0008408600
10/24/2016               July 2016                        TX0008408601
10/24/2016               April 2016                       TX0008408596
10/24/2016               May 2016                         TX0008408597
10/24/2016               March 2016                       TX0008408595
10/24/2016               February 2016                    TX0008408589
11/20/2017               October 2015                     TX0008608223
11/20/2017               November 2016                    TX0008475846
11/20/2017               August 2015                      TX0008608215
11/20/2017               September 2015                   TX0008608219
11/20/2017               December 2015                    TX0008608241
11/20/2017               December 2016                    TX0008475852
11/20/2017               January 2017                     TX0008475817
11/20/2017               November 2015                    TX0008608230
11/20/2017               January 2016                     TX0008608250
12/12/2017               April 2017                       TX0008492681
12/12/2017               May 2017                         TX0008492671
12/12/2017               July 2017                        TX0008492604
12/12/2017               March 2017                       TX0008492744
12/12/2017               June 2017                        TX0008492709
12/12/2017               February 2017                    TX0008492657
02/20/2018               November 2017                    TX0008513597
02/20/2018               September 2017                   TX0008513551
02/20/2018               August 2017                      TX0008513535
02/20/2018               October 2017                     TX0008513574
04/26/2018               January 2018                     TX0008636405
05/15/2018               February 2018                    TX0008634899
06/15/2018               March 2018                       TX0008587215
09/19/2019               June 2019                        TX0008849349
09/25/2019               August 2019                      TX0008850490
       Case 1:24-cv-03285-SHS-OTW    Document 1-1   Filed 04/30/24   Page 8 of 8


11/05/2019               October 2019                     TX0008851950
12/11/2019               July 2019                        TX0008850204
12/18/2019               November 2019                    TX0008860520
01/10/2020               December 2019                    TX0008851340
01/30/2020               August 2018                      TX0008852401
04/23/2020               February 2020                    TX0008878033
04/23/2020               January 2020                     TX0008876594
05/06/2020               April 2020                       TX0008875372
06/04/2020               May 2020                         TX0008884591
06/10/2020               March 2020                       TX0008883820
07/07/2020               June 2020                        TX0008886680
08/12/2020               July 2020                        TX0008894743
09/02/2020               August 2020                      TX0008900611
10/08/2020               September 2020                   TX0008914498
12/16/2020               October 2020                     TX0008926202
01/04/2021               December 2020                    TX0009198394
02/02/2021               January 2021                     TX0008940858
02/09/2021               November 2020                    TX0008935243
05/24/2021               March 2021                       TX0008977857
08/27/2021               May 2021                         TX0009007302
09/01/2021               August 2021                      TX0009024689
10/08/2021               September 2021                   TX0009077039
11/04/2021               October 2021                     TX0009090067
12/10/2021               December 2021                    TX0009122060
03/02/2022               February 2022                    TX0009283686
06/06/2022               March 2022                       TX0009163347
06/06/2022               May 2022                         TX0009162678
06/06/2022               April 2022                       TX0009163521
07/18/2022               June 2022                        TX0009283689
08/30/2022               July 2022                        TX0009213104
09/01/2022               August 2022                      TX0009203092
02/10/2023               November 2022                    TX0009272461
05/12/2023               April 2023                       TX0009288782
05/24/2023               October 2022                     TX0009266122
05/24/2023               September 2022                   TX0009281621
06/08/2023               December 2022                    TX0009272154
06/08/2023               January 2023                     TX0009272146
08/17/2023               June 2023                        TX0009326979
08/17/2023               May 2023                         TX0009306433
09/22/2023               August 2023                      TX0009342088
12/04/2023               November 2023                    TX0009344955
12/04/2023               October 2023                     TX0009344957
